Case 1:22-cv-00047-JMB-RSK ECF No. 21, PageID.523 Filed 03/22/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 CHRISTIE POITRA,

        Plaintiff,
                                                               Case No. 1:22-cv-47
 v.
                                                               HON. JANE M. BECKERING
 MICHIGAN STATE UNIVERSITY, et al.,

        Defendants.
 ____________________________/


                           NOTICE OF IMPENDING DISMISSAL

       The court records indicate that more than 60 days have passed from the filing of the above

complaint and Defendants John M. Engler and John Norder have not been served. This notice

serves to inform Plaintiff that the action shall be dismissed without prejudice as to Defendants

John M. Engler and John Norder, unless Plaintiff completes service of process within 90 days after

the filing of the complaint, in accordance with FED. R. CIV. P. 4(m).

       To avoid dismissal pursuant to Rule 4(m), if more than 90 days are necessary for service

of process, counsel must execute a verified petition RE: Service of Process, advising the Court:

               A.     That the case should not be dismissed as to the unserved defendant(s);

               B.     That the failure to obtain service upon the defendant(s) is not due to the fault
                      of the party or counsel seeking to avoid dismissal;

               C.     The reasons why the case against the unserved defendant(s) should not be
                      dismissed, set forth in detail; and

               D.     That service will be effected on the defendant(s) within twenty-eight (28)
                      days of the date of the petition.
Case 1:22-cv-00047-JMB-RSK ECF No. 21, PageID.524 Filed 03/22/22 Page 2 of 2




       This petition must be filed with the Court on or before April 19, 2022. By executing the

petition RE: Service of Process, you need not appear in support thereof until and/or unless so

notified by the Court. If the Court is satisfied that the case should not be dismissed as to

Defendants John M. Engler and John Norder, you will be so notified. If dismissal of the case as

to Defendants John M. Engler and John Norder is satisfactory to you, no action is required. An

Order of Dismissal shall be issued.




Dated: March 22, 2022                                      /s/ Jane M. Beckering
                                                          JANE M. BECKERING
                                                          United States District Judge
